      Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 1 of 6




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, a
501(c)(6) District of Columbia organization;
and COMPUTER & COMMUNICATIONS                   Civil Action No.
INDUSTRY ASSOCIATION d/b/a CCIA, a              4:21-cv-00220-RH-MAF
501(c)(6) non-stock Virginia corporation,

      Plaintiffs,

v.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of the
State of Florida; JONI ALEXIS POITIER, in
her official capacity as Commissioner of the
Florida Elections Commission; JASON
TODD ALLEN, in his official capacity as
Commissioner of the Florida Elections
Commission; JOHN MARTIN HAYES, in
his official capacity as Commissioner of the
Florida Elections Commission;
KYMBERLEE CURRY SMITH, in her
official capacity as Commissioner of the
Florida Elections Commission; and
PATRICK GILLESPIE, in his official
capacity as Deputy Secretary of Business
Operations of the Florida Department of
Management Services,

     Defendants.
_________________________________


     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND
           REQUEST FOR EXPEDITED CONSIDERATION
                    (Oral Argument Requested)



                                       1
       Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 2 of 6




       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs, NetChoice,

LLC, and Computer & Communications Industry Association (collectively,

“Plaintiffs”), for the reasons set forth in the memorandum of law and supporting

declarations filed concurrently with this motion,1 respectfully move for an Order

preliminarily enjoining Defendants from implementing or enforcing the operative

provisions of Florida Senate Bill 7072 (the “Act”), including but not limited to

sections 106.072, 287.137, and 501.2041, Fla. Stat.

                REQUEST FOR EXPEDITED CONSIDERATION

       Plaintiffs respectfully request that the Court consider this Motion for

Preliminary Injunction on an expedited basis before the Act identified above takes

effect on July 1, 2021. As Plaintiffs’ Memorandum explains in detail, the Act, signed

into law on May 24, 2021, launches a frontal attack on their members’ First

Amendment rights and is expressly preempted by federal law. Expedited

consideration is necessary because the Act would inflict immediate, irreparable harm

upon Plaintiffs’ member companies. Unless enjoined before taking effect, the Act

will throw into legal jeopardy countless moderation measures taken by these

businesses on a continual basis, will flatly bar them from removing or regulating

large swaths of online content that might be highly objectionable or in violation of


1
       Plaintiffs are filing the supporting declarations of Matthew Schruers (CCIA), Carl Szabo
(NetChoice), Alexandra Veitch (YouTube), Neil Potts (Facebook), Stacy Rumenap (Stop Child
Predators), Servando Esparza (TechNet), and Corinne Pavlovic (Etsy) concurrently herewith.


                                              2
      Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 3 of 6




their rules, and require them to send millions of new, detailed notices to their users.

The result would be to expose billions of users online, including families and

children, to illegal, dangerous, and objectionable material and to require

fundamental and far-reaching changes to how Plaintiffs’ members operate their

businesses. At a minimum, the Court should have an opportunity to address

Plaintiffs’ request for a preliminary injunction before these new statutory provisions

are allowed to upend the status quo.

                      REQUEST FOR ORAL ARGUMENT

      Pursuant to Local Rule 7.1(K), Plaintiffs respectfully request oral argument

on this Motion, and estimate two hours as the required time for the hearing.

                    LOCAL RULE 7.1(B) CERTIFICATION

      Undersigned Counsel for Plaintiff Computer & Communications Industry

Association certifies that he conferred with counsel for Defendants Ashley Brooke

Moody, in her official capacity as Attorney General of the State of Florida, and for

Joni Alexis Poitier, Jason Todd Allen, John Martin Hayes, and Kymberlee Curry

Smith, in their official capacities as Commissioners of the Florida Elections

Commission, in a good faith effort to resolve the issue set forth herein. Those

Defendants do not consent to the relief requested herein. On June 2, 2021, Counsel

for Plaintiff conferred with counsel for Defendant Patrick Gillespie, in his official

capacity as Deputy Secretary of Business Operations of the Florida Department of



                                          3
      Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 4 of 6




Management Services, but such counsel has not responded as to her client's position

at the time of filing this Motion.

                    LOCAL RULE 7.1(F) CERTIFICATION

      Undersigned counsel for Plaintiff Computer & Communications Industry

Association certifies that this motion contains 347 words.

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 3, 2021, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel of record. In addition, because counsel for

Defendants have not yet appeared in this case, I caused a copy of this filing to be

delivered today via e-mail to the following, by agreement with counsel:

      Blaine H. Winship
      Office of the Florida Attorney General
      The Capitol
      400 S Monroe St., Ste PL-01
      Tallahassee, FL 32399-6536
      blaine.winship@myfloridalegal.com

      Counsel for Defendants Ashley B. Moody, in her official capacity as Florida
      Attorney General, and for Joni Alexis Poitier, Jason Todd Allen, John
      Martin Hayes, And Kymberlee Curry Smith, in their official capacities as
      Commissioners of the Florida Elections Commission

      Rebekah A. Davis
      Deputy General Counsel - Litigation
      Florida Department of Management Services
      4050 Esplanade Way, Suite 280
      Tallahassee, FL 32399-0950
      rebekah.davis@dms.fl.gov

                                         4
     Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 5 of 6




     Counsel for Defendant Patrick Gillespie In his official capacity as Deputy
     Secretary of Business Operations, Florida Department of Management
     Services

                                        Respectfully submitted,


                                        /s/ Douglas L. Kilby

Ilana H. Eisenstein (pro hac vice          Douglas L. Kilby
forthcoming)                               Florida Bar No. 0073407
Ben C. Fabens-Lassen (pro hac vice         Glenn Burhans, Jr.
forthcoming)                               Florida Bar No. 0605867
Danielle T. Morrison (pro hac vice         Bridget Smitha
forthcoming)                               Florida Bar No. 0709581
Jonathan Green (pro hac vice               Christopher R. Clark
forthcoming)                               Florida Bar No. 1002388
DLA PIPER LLP (US)                         STEARNS WEAVER MILLER
One Liberty Place                          WEISSLER
1650 Market Street, Suite 5000             ALHADEFF & SITTERSON, P.A.
Philadelphia, PA 19103-7300                Highpoint Center
Phone: 215-656-3300                        106 East College Avenue, Suite 700
Fax: 215-656-3301                          Tallahassee, FL 32301
Email: ilana.eisenstein@dlapiper.com       Phone: (850) 580-7200
ben.fabens-lassen@dlapiper.com             Email: dkilby@stearnsweaver.com
danielle.morrison@dlapiper.com             gburhans@stearnsweaver.com
jonathan.green@dlapiper.com                bsmitha@stearnsweaver.com
                                           crclark@stearnsweaver.com

Christopher G. Oprison                     Lauren Gallo White
Florida Bar No. 0122080                    (pro hac vice forthcoming)
J. Trumon Phillips                         Meng Jia Yang
Florida Bar No. 84568                      (pro hac vice forthcoming)
DLA PIPER LLP (US)                         WILSON SONSINI GOODRICH &
200 South Biscayne Blvd., Suite 2500       ROSATI, P.C.
Miami, Florida 33131                       One Market Plaza
Phone: 305-423-8500                        Spear Tower, Suite 3300
Fax: 305-675-6366                          San Francisco, CA 94105
Email: chris.oprison@dlapiper.com          Phone: (415) 947-2000

                                       5
         Case 4:21-cv-00220-RH-MAF Document 22 Filed 06/03/21 Page 6 of 6




 trumon.phillips@dlapiper.com               Email: lwhite@wsgr.com
 sheila.hall@dlapiper.com                   mjyang@wsgr.com


 Peter Karanjia (pro hac vice               Brian M. Willen
 forthcoming)                               (pro hac vice forthcoming)
 James J. Halpert (pro hac vice             Steffen N. Johnson
 forthcoming)                               (pro hac vice forthcoming)
 DLA PIPER LLP (US)                         WILSON SONSINI GOODRICH &
 500 Eighth Street, NW                      ROSATI, P.C.
 Washington, DC 20004                       1700 K St NW
 Phone: 202-799-4000                        Washington, DC 20006
 Fax: 202-799-5000                          Phone: (202) 973-8800
 Email: peter.karanjia@dlapiper.com         Email: bwillen@wsgr.com
 jim.halpert@dlapiper.com                   sjohnson@wsgr.com


 Attorneys for Plaintiff                    Attorneys for Plaintiff Computer &
 NetChoice, LLC                             Communications Industry Association




                                        6
#9518293 v2
